                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )           No. 3:11-00194
                                                )           JUDGE CAMPBELL
STERLING RENEVA RIVERS                          )


                                            ORDER

       Pending before the Court is the Defendant’s Motion For Order To Produce Witness

(Docket No. 1598). Through the Motion, the Defendant requests that the Court order the

Marshal Service to produce Curtis Robinson to testify in the ongoing trial in this case. The

Motion is GRANTED. Any witness transported for trial should be transported and housed

separately from Defendant Rivers.

       The Clerk is directed to serve a copy of this Order on Cynthia S. McKenzie, counsel for

Mr. Robinson.

       It is so ORDERED.



                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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